Case 2:19-cv-00554-RJS       Document 57     Filed 11/10/20     PageID.673       Page 1 of 7




Kay Burningham (#4201)
kay@kayburningham.com
Kay Burningham, Attorney at Law
299 South Main Street, Suite #1375
Salt Lake City, Utah 84111
Telephone: 1.888.234.3706

Attorney for Laura A. Gaddy and the Class


                         IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF UTAH
     LAURA A. GADDY, individually and
                                                MOTION FOR LEAVE TO
     on behalf of all others similarly
                                                SUPPLEMENT AMENDED
     situated,
                                            COMPLAINT WITH AN ADDITIONAL
              Plaintiffs,                             EXHIBIT
                    v.                             (Request for Oral Argument)
     CORPORATION OF THE                          (DEMAND FOR JURY TRIAL)
     PRESIDENT OF THE CHURCH
                                               Oral Argument on Motion to Dismiss
     OF JESUS CHRIST OF LATTER-
                                                 Currently Set for: Dec. 10, 2020
     DAY SAINTS, a Utah corporation
     sole.                                        2:19-cv-00554-RJS—DBP
              Defendant                        Chief District Judge Robert J. Shelby
                                                 Magistrate Judge Dustin B. Pead



          MOTION TO SUPPLEMENT AMENDED COMPLAINT WITH AN EXHIBIT.

       Pursuant to Fed. R. Civ. P.15(d), Plaintiff moves to append an additional exhibit

to her Amended Complaint. The content of [proposed] Exhibit 15 is one that was

discovered only after she filed her [Amended] Opposition to the Motion to Dismiss the

Amended Complaint on July 21, 2020. (ECF #47).
Case 2:19-cv-00554-RJS         Document 57      Filed 11/10/20    PageID.674      Page 2 of 7




         Furthermore, the issue only first appeared in an interview on July 31, or August

1, 2020 with University of Chicago Egyptologist, Robert K. Ritner, and thereafter in

online discussions about the Book of Abraham on August 14, 2020, and later. Plaintiff’s

counsel was personally notified on November 1, 2020 about the interview and

subsequently conducted additional research on the matter.

                                    1. Procedural Background

         In a draft of this motion, undersigned counsel requested the Court order that

Defendant respond within 14 days of filing this Motion and any written Reply be filed

and served within 5 days thereafter so that any argument could be heard on December

10, 2020 at 2:30 in conjunction with and at the beginning of the oral argument currently

scheduled for Defendant’s Motion to Dismiss the Amended Complaint.

         However, on the morning of the day that Plaintiff planned to finalize and file this

Motion for Leave to Supplement, the undersigned received a copy of an email to the

scheduling clerk from defense counsel, requesting a continuance from the previously

scheduled December 10th hearing.1

                                       2. Gist of the Motion

         This Motion seeks leave to file an Exhibit 15 which sets forth pictorial

representations of the metal or lead printing plate (not woodcut, as the method has been

previously described by Defendant in correlated materials), that has recently been

admitted as the one used for Facsimile no. 3 in the Book of Abraham, and, more

importantly, a blow up of figure 6 from the metal plate as well as an admission of


1
    See copy of email from Wesley Howard filed herewith.
Case 2:19-cv-00554-RJS       Document 57       Filed 11/10/20     PageID.675      Page 3 of 7




“deaccessioning” the plate from the Church History Museum for an “unknown” period of

time.2 See [proposed] Exhibit no. 15 filed herewith.

       Plaintiff seeks leave to add [proposed] Exhibit No.15 and the following language

to be inserted at the end of paragraph 50 in the Amended Complaint:

      COP deaccessioned (removed from the church history museum’s index of
      materials) the lead plate used to print facsimile no. 3 for an unknown period.
      That act hid from the museum’s index the fact that they had the printing
      plate for facsimile no. 3 in their custody and control and, a fortioiri, that
      figure 6 on the plate, which Egyptologists have long interpreted to be the
      jackal-headed god Anubis, appears to have its snout carved off.
      Egyptologists agree that the text adjacent to figure 6 indicate that figure 6 is
      Anubis, the jackal-headed god of the underworld. COP now admits in their
      Book of Abraham essay that the figures in [all] the facsimiles are not
      Abraham and are not what Smith claimed them to be.

                POINTS AND AUTHORITIES IN SUPPORT OF MOTION

                                        1. Introduction

       The gravamen of the Amended Complaint alleges that Defendant COP did not

sincerely believe what it taught with re: the origins of its scriptures, including the Book of

Mormon and the Book of Abraham. Sincerity of religious belief is a question of fact. The

contents of proposed Exhibit 15 seriously undermine Defendant’s claim to a sincere

belief in what they have taught and continue to teach with re: the Book of Abraham. If

that belief is not sincere, First Amendment religious liberty defenses are not available to

Defendant and this case should be tried like any other fraud case.



2
 Deaccessioning is the technical term referring to the expulsion of objects from museum
collections [or from its index]. https://www.oxfordbibliographies.com/view/document/obo-
9780199766567/obo-9780199766567-0246.xml
Case 2:19-cv-00554-RJS      Document 57       Filed 11/10/20    PageID.676     Page 4 of 7




     2. Under Rule 15(d), the Court has discretion to allow an exhibit to be filed,

          supplementing a previously filed pleading, “when justice so requires.”

       Federal Rule 15(d) allows a supplemental pleading based on an occurrence that

happened after the filing of the pleading sought to be supplemented.

    On motion and reasonable notice, the court may, on just terms, permit a party to
    serve a supplemental pleading setting out any transaction, occurrence, or event
    that happened after the date of the pleading to be supplemented. The court may
    permit supplementation even though the original pleading is defective in stating a
    claim or defense. The court may order that the opposing party plead to the
    supplemental pleading within a specified time. [Emphasis added.]

Fed.R.Civ.P. 15(d).

    3. Recently discovered marks on the printing plate used for Book of Abraham

           Facsimile no. 3 demonstrate COP’s intentional deceit and cover-up,

          revealing its lack of “sincere religious belief” in what it has taught with

                 regard to this book of scripture and correlated materials.

       Just over one week ago, on or about November 1, 2020, the undersigned learned

about an interview with Dr. Robert Ritner, Chicago Egyptologist, on the Book of

Abraham.3 The interview took place July 31, or August 1, 2020.4 The undersigned

listened and followed up with research re: comments he made on the slave/Anubis figure

(figure no. 6 in facsimile number three). I discovered a social media thread (original post

was dated August 14, 2020) describing a lead or metal printing plate that had been in the

church’s custody and control since the plate’s creation in 1842.



3
  Please see Declaration of Kay Burningham filed in support of this Motion and the
exhibits referenced therein.
4
  https://www.mormonstories.org/podcast/robert-ritner/
Case 2:19-cv-00554-RJS       Document 57      Filed 11/10/20    PageID.677      Page 5 of 7




       Historically, up through even a 2018 Book of Abraham instruction manual, the plate

had been described as a woodcut. At Joseph Smith’s direction, this plate was used to

print Facsimile number 3 in the Book of Abraham.

             On 23 February 1842, the Prophet Joseph Smith asked Reuben Hedlock,
      a professional wood engraver and member of the Church, to prepare woodcuts
      of three of those drawings so they could be printed. Hedlock finished the
      engravings in one week, and Joseph Smith published the copies (facsimiles)
      along with the book of Abraham. Joseph Smith’s explanations of the drawings
      accompany the facsimiles” (The Pearl of Great Price Student Manual [Church
      Educational System manual. 9).5

       In the post, an ostensible former LDS Book of Abraham apologist, Paul Osborne,

has taken the plate, first published in the hard bound Volume 4 of the Joseph Smith

Papers on October 30, 2018 6 and blown up figure 6 to reveal what appears to be the

scraping off of the metal at a location where Anubis’ snout would have been.7 Additionally,

he pointed out that it appears that Anubis’ ear had not been removed (the ear is in profile;

it appears as a pointed object protruding from the top of figure 6’s head) from the printing

plate before it was used to create Facsimile no. 3.

      4. Though discretionary, leave to supplement under Fed. R. Civ. P. 15(d)

       where the event occurs after the pleading desired to be supplemented has

        been filed should be granted freely. Refusing leave to supplement is only

                    justified in limited cases, none of which apply here.

    Fed. R. Civ. P. 15(d) gives trial courts broad discretion to permit a party to serve
    a supplemental pleading setting forth post-complaint transactions, occurrences[,]

5
  https://www.churchofjesuschrist.org/study/manual/old-testament-seminary-teacher-
material-2018/abraham?lang=eng
6
  Vol. 4 of the Joseph Smith Papers (JSP) sells for $89.99 at Deseret Book and
Amazon.
7
  See [proposed] Exhibit no. 15 filed herewith.
Case 2:19-cv-00554-RJS      Document 57       Filed 11/10/20    PageID.678     Page 6 of 7




    or events.”
    Walker v. United Parcel Serv., Inc., 240 F.3d 1268, 1278 (10th Cir. 2001).*4 “As
    a general matter, the standard used by courts in deciding to grant or deny leave
    to supplement is the same standard used in deciding whether to grant or deny
    leave to amend.” Fowler v. Hodge, 94 F. App'x 710, 714 (10th Cir. 2004)
    (quotations and citation omitted). Under that standard, which is contained in
    Fed. R. Civ. P. 15(a)(2), see Fed. R. Civ. P. 15(a)(2), “[t]he court should freely
    give leave” to amend pleadings “when justice so requires.” Id.; see
    also Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 9 L. Ed. 2d 222 (1962).
    “Refusing leave to amend is generally only justified upon a showing of undue
    delay, undue prejudice to the opposing party, bad faith or dilatory motive, failure
    to cure deficiencies by amendments previously allowed, or futility of
    amendment.” Frank v. U.S. W., Inc., 3 F.3d 1357, 1365 (10th Cir. 1993).

Catlin v. Salt Lake City Sch. Dist., No. 2:08-CV-00362-CW-PMW, 2014 WL 4662466, at
*3–4 (D. Utah Sept. 18, 2014)
                                      5. CONCLUSION

      Although the metal plate was published in Volume 4 of the Joseph Smith Papers

in late 2018, the blow up of figure 6 from that metal plate and analysis of the same by a

former LDS Book of Abraham apologist, Paul Osborne, was not discussed until the

interview on July 31 or August 1, 2020 and thereafter in social media posts in former

Mormon chat rooms and websites.

       It did not come to Plaintiff’s counsel’s attention until November 1, 2020 and

thereafter. Unless someone was looking for it, the scrape marks where the snout of

Anubis was apparently removed are not readily apparent in the pictorial representation

of the plate published either in the Volume 4 of the JSP or online. Furthermore, the cost

of the hardbound volume was prohibitive for most average LDS members and the online

version of the printing plate does not include the chain of custody admission that the

plate was deaccessioned from the Church History museum.
Case 2:19-cv-00554-RJS       Document 57      Filed 11/10/20    PageID.679      Page 7 of 7




       Wherefore, Plaintiff requests that the Court order any response to this Motion by

Defendant be filed within 14 days, Reply, if any, within 5 days thereafter, and that a brief

oral argument on this motion be allowed on the actual date that oral argument is

continued from December 10, 2020, prior to hearing argument on Defendant’s

underlying Motion to Dismiss the Amended Complaint.

                                                 Respectfully submitted,



DATED this 10th day of November 2020.            Kay Burningham, Attorney at Law

                                                 /s/   Kay Burningham

                                                Kay Burningham

                                          Attorney for Laura A. Gaddy and the Class
